Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 1 of 16




         Exhibit 6
              Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 2 of 16




    FOR IMMEDIATE RELEASE                                   Contacts:
                                                            Investors:   Michael Weitz 203-352-8642
                                                                         Michael Guido, CFA 203-352-8779
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                       WWE® Reports First Quarter 2019 Results
                        Maintains Path to Record Full-Year Performance

First Quarter 2019 Highlights
•   Revenues were $182.4 million as compared to $187.7 million in the prior year quarter
•   Operating income reflected a loss of $6.8 million as compared to income of $21.8 million in the prior
    year quarter
•   Adjusted OIBDA1 of $12.4 million was within the range of guidance ($9 million to $14 million), and
    reflected an anticipated year-over-year decline primarily due to strategic investments
•   WWE Network average paid subscribers2 increased 2% to 1.58 million paid subscribers, consistent with
    the Company’s guidance
•   Digital video views increased 15% to 7.7 billion; hours consumed increased 23% to 300 million hours
    across digital platforms; and social media followers increased 12% to over 1.0 billion3

Selected WrestleMania Highlights
•   WrestleMania (April 7, 2019) broke the record for MetLife Stadium’s highest grossing entertainment
    event at $16.9 million, attracting a capacity crowd of 82,265 fans
•   WWE Network subscribers viewed 23.2 million hours during WrestleMania week, which was roughly
    on par with the same week last year
•   During WrestleMania week, 17.9 million hours were consumed on digital and social media platforms,
    up 29% from the prior year
•   WWE Network’s total subscribers reached 2.0 million on April 8, 2019, the day after WrestleMania
•   WrestleMania featured a historic, first-ever women’s main event starring Ronda Rousey, Charlotte Flair
    and Becky Lynch


STAMFORD, Conn., April 25, 2019 - WWE (NYSE: WWE) today announced financial results for its
first quarter ended March 31, 2019.

“During the quarter, we continued to execute our strategy and achieved targeted financial results,” stated
Vince McMahon, Chairman and Chief Executive Officer. “While engagement metrics over the past two
quarters were impacted by Superstar absences, we believe they will improve as our talent return and we
launch our new season following a successful WrestleMania. We remain excited about the future,
particularly with our debut on Fox in October.”
            Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 3 of 16


George Barrios, Co-President, added “In the quarter, we delivered Adjusted OIBDA within the range of
our public guidance and continue to target full-year record revenue of approximately $1 billion and record
Adjusted OIBDA of at least $200 million. Our primary focus is to deliver record results while investing
in our key priorities: content creation, localization and digitization.”

First-Quarter Consolidated Results
Revenues were $182.4 million as compared to $187.7 million from the prior year quarter as the increased
monetization of content as reflected in the Media segment was more than offset by a reduction in live
event ticket revenue and lower merchandise sales.
Operating Income was a loss of $6.8 million as compared to income of $21.8 million in the prior year
quarter, reflecting a decline in revenue and increased fixed costs, including strategic investments, as well
as higher stock compensation costs driven by the increase in the Company’s stock price. The Company’s
Operating income margin declined to (4%) from 12% in the prior year quarter.
Adjusted OIBDA (which excludes stock compensation) was $12.4 million as compared to $35.2 million.
The results reflected an anticipated decline and were within the range of the Company’s guidance ($9
million to $14 million). The Company’s Adjusted OIBDA margin decreased to 7% from 19%.
Net Income reflected a loss of $8.4 million, or a loss of $0.11 per diluted share, as compared to net income
of $14.8 million, or earnings of $0.18 per diluted share, in the first quarter of 2018. This decrease was
primarily driven by the change in operating performance.
Effective Tax Rate was 26%, consistent with that of the prior year quarter.
Cash flows generated by operating activities reached $6.7 million as compared to $2.6 million in the
prior year quarter as favorable changes in working capital more than offset lower operating performance.
Free Cash Flow demonstrated a $10.1 million use of cash as compared to a $1.8 million use of cash in
the first quarter of 2018 as the change in operating cash flow was offset by a $12.4 million increase in
capital expenditures primarily associated with the Company’s workspace plan.4
Cash, cash equivalents and short-term investments were $338 million as of March 31, 2019, and the
Company estimates debt capacity under its revolving line of credit of approximately $100 million.

First-Quarter Key Operating Metrics
During the fourth quarter 2018 earnings call, WWE management discussed the absence of several talent
and their belief that these absences had a negative impact on the Company’s engagement metrics.
Management believes that these absences continued to impact engagement in the first quarter 2019 as
domestic TV ratings for Raw and SmackDown declined approximately 14% and 13%, respectively, and
average attendance at the Company’s live events in North America declined 11%. WWE Network average
paid subscribers increased 2% and digital video consumption increased 23%. Looking to the future,
management believes the Company’s engagement metrics will improve with the return of its talent, the
emergence of new storylines and new Superstars, and as the Company launches a new season of WWE
following a successful WrestleMania. Moreover, management remains excited about the debut of
SmackDown Live on Fox in October. The debut will mark the first time WWE will be available live 52
weeks a year on a premier broadcast platform. In addition to absolute performance, management believes
                                                     2
           Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 4 of 16


relative performance is critically important as it illuminates the value of WWE within the pay TV
ecosystem. In the first quarter, when excluding NASCAR’s premier event, The Daytona 500, WWE
delivered greater average viewership than any professional sports league other than the NFL.5

The schedule below reflects WWE’s performance by operating segment (in millions):1

                                                                         Three Months Ended
                                                                              March 31,
                                                                  2019                        2018
Net Revenues:
  Media                                                  $                 135.4    $                133.4
  Live Events                                                               26.2                      30.8
  Consumer Products                                                         20.8                      23.5
    Total Net Revenues                                   $                 182.4    $                187.7

Operating (Loss) Income:
  Media                                                  $                  16.3    $                 35.9
  Live Events                                                               (0.2)                      2.9
  Consumer Products                                                          5.0                       6.0
  Corporate                                                                (27.9)                    (23.0)
   Total Operating (Loss) Income                         $                  (6.8)   $                 21.8

Adjusted OIBDA:
  Media                                                  $                  28.5    $                 43.6
  Live Events                                                                0.8                       3.6
  Consumer Products                                                          6.0                       6.9
  Corporate                                                                (22.9)                    (18.9)
   Total Adjusted OIBDA                                  $                  12.4    $                 35.2


Results by Operating Segment

Media
Revenues increased to $135.4 million from $133.4 million in the prior year quarter, primarily due to the
contractual escalation of core content rights fees. The growth was partially offset by lower advertising
sales, particularly on YouTube, and the unfavorable timing of advertising and sponsorship sales across
other platforms.
WWE Network’s average paid subscribers increased 2% to approximately 1.58 million. For the second
quarter 2019, the Company projects average paid subscribers of approximately 1.70 million, representing
a year-over-year decline of 5%.2,6 The Company’s primary focus for WWE Network is the launch of its
new platform in partnership with Endeavor Streaming and Massive. This new platform will provide
flexibility to bring new features and experiences to the Company’s fans and enable the delivery of content
in multiple languages.




                                                    3
              Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 5 of 16



                                                                          Three Months Ended
                                                                               March 31,
                                                                   2019                        2018
Revenues:
  Network (including pay-per-view)                        $                  47.0   $                  46.8
  Core content rights fees 7                                                 68.1                      65.5
  Advertising and sponsorship                                                10.9                      12.2
  Other 8                                                                     9.4                       8.9
   Total Revenues                                         $                 135.4   $                 133.4


Operating income was $16.3 million as compared to $35.9 million in the prior year quarter as the growth
in revenue was more than offset by increased fixed costs, including strategic investments, and higher stock
compensation costs driven by the increase in the Company’s stock price.

Adjusted OIBDA was $28.5 million as compared to $43.6 million in the prior year quarter.

Key Highlights: During the quarter, Monday Night Raw and SmackDown Live remained the highest-rated
programs on USA Network. The Company completed its fourth season of Total Bellas, renewed Miz &
Mrs for a second season in 2020 and announced the development of new original content. This includes
plans to create a weekly studio show on Fox Sports 1, which will debut this fall, and five documentaries
on legendary WWE talent to be produced in partnership with A&E Network under its iconic “Biography”
banner. On the Company’s streaming service, WWE Network, pay-per-views, other in-ring content and
original series continued to drive viewer engagement. In addition to its pay-per-view events, the
Network’s most viewed programs included NXT TakeOver: Phoenix and NXT UK TakeOver: Blackpool,
the documentary series, WWE Chronicle and WWE 24, and the Network exclusive, Halftime Heat, which
aired live during Super Bowl halftime and trended worldwide on Twitter. The Company added more than
75 hours of original content to WWE Network’s featured programming and 420 hours of archival content,
which resulted in an on-demand library of nearly 12,000 hours at quarter-end. For its social and digital
platforms, the Company produced nearly 200 hours of original content.

Live Events
Revenues declined 15% to $26.2 million due to weaker performance of events in North America, which
reflected lower average attendance and the staging of nine fewer events. Average attendance at these
events declined 11% to 4,800. The average ticket price of $52.38 was essentially unchanged from the prior
year quarter. There were no Raw or SmackDown events held in international markets.




                                                    4
           Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 6 of 16



                                                                          Three Months Ended
                                                                               March 31,
                                                                   2019                        2018
Revenues:
  North American ticket sales                             $                  24.1   $                 29.8
  International ticket sales                                                  0.2                       —
  Advertising and sponsorship                                                 0.4                      0.2
  Other 9                                                                     1.5                      0.8
   Total Revenues                                         $                  26.2   $                 30.8


Operating income reflected a loss of $0.2 million as compared to income of $2.9 million in the prior year
quarter, primarily due to the reduction in ticket sales (as described above).

Adjusted OIBDA was $0.8 million as compared to $3.6 million in the prior year quarter.

Key Highlights: WWE continued to stage large-scale, action-packed events for its fans. During the
quarter, Royal Rumble attracted more than 48,000 fans at Chase Field in Phoenix, Arizona. The Company
also announced that Royal Rumble will be held at Minute Maid Park in Houston, Texas in 2020, marking
the second consecutive year the event will be held at a Major League Baseball stadium. Highlighting the
success of its UK developmental brand, NXT UK held its first-ever live special, NXT UK TakeOver:
Blackpool, before a sold-out crowd at the Empress Ballroom. Furthering the Company’s efforts to expand
its global talent base, WWE held its first-ever tryout in India, the largest in WWE history, which featured
more than 70 participants, and recently announced a talent tryout in China this Summer.

Consumer Products
Revenues decreased 11% to $20.8 million primarily due to lower sales of merchandise at the Company’s
e-commerce site, WWE Shop, and live-event venues, where the latter can be attributed, in part, to lower
attendance (as described above).


                                                                          Three Months Ended
                                                                               March 31,
                                                                   2019                        2018
Revenues:
  Consumer product licensing                              $                   9.4   $                  9.3
  eCommerce                                                                   6.6                      8.4
  Venue merchandise                                                           4.8                      5.8
   Total Revenues                                         $                  20.8   $                 23.5


Operating income was $5.0 million as compared to $6.0 million in the prior year quarter reflecting the
reduction in revenue.

Adjusted OIBDA was $6.0 million as compared to $6.9 million in the prior year quarter.


                                                    5
           Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 7 of 16


Key Highlights: During the quarter, the Company continued to develop new licensing partnerships across
product categories. This included recent agreements with New Era Cap, making the brand the official
headwear partner of WWE, and Roblox, a multiplayer online platform with 80 million monthly active
users, which are primarily kids. As of quarter-end, the Company had nearly 110 million installs across its
mobile game portfolio.

Second Quarter 2019 Business Outlook
For the second quarter 2019, the Company estimates Adjusted OIBDA of $19 million to $24 million. 6
This range of results represents a year-over-year decline in Adjusted OIBDA driven by increases in fixed
costs, including the timing of strategic investments.

Financial Outlook 2019
In 2019, WWE management is targeting another year of record revenue of approximately $1.0 billion and,
as previously communicated, Adjusted OIBDA of at least $200 million, which would also be an all-time
record (up at least 12% from Adjusted OIBDA of $178.9 million in 2018).6
Achieving the targeted range of full year results assumes substantial revenue, which supports Adjusted
OIBDA of at least $100 million in the fourth quarter. Importantly, the Company’s new content distribution
agreements in the U.S., which become effective in that period, provide significant visibility into that
expectation, and moreover, into the strong year-over-year growth that is anticipated in 2020.
Management believes that increasing fan engagement over the next few years can enhance WWE’s brand
value and strengthen the Company’s long-term growth. Supporting these objectives, the Company plans
to continue to invest in content, digitization and international development. Key areas of investment for
2019 include strengthening WWE’s talent base, delivering more localized content, developing the next
iteration of the WWE Network service, and leveraging fan data to improve business performance. In 2019,
management will continue to evaluate WWE’s financial performance and to balance current earnings with
investments that strengthen engagement and drive long-term growth.

WWE is unable to provide a reconciliation of second quarter or full year guidance to GAAP measures as,
at this time, WWE cannot accurately determine all of the adjustments that would be required.




                                                    6
              Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 8 of 16


Notes
(1)
      The definition of Adjusted OIBDA can be found in the Non-GAAP Measures section of the release on page 7-
      8. A reconciliation of three months ended March 31, 2019 and 2018 Operating Income to Adjusted OIBDA can
      be found in the Supplemental Information in this release on pages 13-14
(2)
      Average paid subscribers are calculated based on the arithmetic daily mean over the relevant period, and may
      differ substantially from paid subscribers at the end of any period due to the timing of paid subscriber additions
      and losses
(3)
      Consumption includes videos viewed on third party (Facebook, YouTube, Twitter, Instagram, Snapchat, etc.)
      and WWE platforms (WWE.com and WWE App). Social media followers represent the number of followers
      for each individual platform as sourced from each platform; as such, total followers shown have not been
      adjusted for duplication among or within platforms and do not represent the number of “unique” followers
(4)
      A reconciliation of three months ended March 31, 2019 and 2018 Free Cash Flow to Net cash provided by
      operating activities can be found in the Supplemental Information in this release on page 15
(5)
      Data based on average viewers per live episode/ game measured on a Live+SD basis across broadcast and cable
      networks. Source: Nielsen Media Research, NPOWER (for more information, see WWE Q1 2019 earnings
      website presentation at corporate.wwe.com/investors)
(6)
      The Company’s business model and expected results (including our outlook for the second quarter and rest of
      2019) will continue to be subject to significant execution and other risks, including risks relating to entering
      into, maintaining and/ or renewing key agreements, uncertainties associated with international markets and risks
      inherent in large live events, and the other risks outlined in the Company’s Form 10-K filing with the SEC
(7)
      Core content rights fees consist primarily of licensing revenues earned from the distribution of our flagship
      programs, Raw and SmackDown, through global broadcast, pay television and digital platforms
(8)
      Other forms of media monetization reflect revenues earned from the distribution of other content, including,
      but not limited to, certain live in-ring programming content in international markets, scripted, reality and other
      programming, theatrical and direct-to-home video releases
(9)
      Other Live Events includes revenue from the sale of travel packages associated with the Company’s live events,
      and commissions earned through secondary ticketing as well as revenue from events for which the Company
      receives a fixed fee


Non-GAAP Measures
The Company defines Adjusted OIBDA as operating income excluding depreciation and amortization,
stock-based compensation expense, certain impairment charges and other non-recurring material items
that otherwise would impact the comparability of results between periods. Adjusted OIBDA includes
amortization expenses directly related to the Company's revenue generating activities, including feature
film and television production asset amortization, amortization of costs related to content delivery and
technology assets utilized for the WWE Network, as well as amortization of right-of-use assets related to
finance leases of live event production equipment. The Company believes the presentation of Adjusted
OIBDA is relevant and useful for investors because it allows them to view the Company’s segment
performance in the same manner as the primary method used by management to evaluate segment
performance and to make decisions regarding the allocation of resources. Additionally, the Company
believes that Adjusted OIBDA is a primary measure used by media investors, analysts and peers for
comparative purposes.




                                                            7
            Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 9 of 16


Adjusted OIBDA is a non-GAAP financial measure and may be different than similarly-titled non-GAAP
financial measures used by other companies. WWE views operating income as the most directly
comparable GAAP measure. Adjusted OIBDA (and other non-GAAP measures such as Adjusted
Operating Income, Adjusted Net Income and Adjusted EPS presented to exclude certain material items
that impact the comparability between periods) should not be considered in isolation from, or as a
substitute for, operating income or other GAAP measures, such as net income or operating cash flow, as
an indicator of operating performance or liquidity.
The Company defines Free Cash Flow as net cash provided by operating activities less cash used for
capital expenditures. WWE views net cash provided by operating activities as the most directly
comparable GAAP measure. Although it is not a recognized measure of liquidity under U.S. GAAP, Free
Cash Flow provides useful information regarding the amount of cash WWE’s continuing business
generates after capital expenditures and is available for reinvesting in the business, debt service, and
payment of dividends.

Additional Information
Additional business metrics are made available to investors on the corporate website -
corporate.wwe.com/investors. Note: As previously announced WWE will host a conference call at 11:00
a.m. ET on April 25th to discuss the Company's earnings results for the first quarter of 2019. All interested
parties are welcome to listen to a live web cast that will be hosted through the Company’s web site at
corporate.wwe.com/investors. Participants can access the conference call by dialing 1-855-200-4993 (toll
free) or 1-323-794-2092 from outside the U.S. (conference ID for both lines: 3055483). Please reserve a
line 5-10 minutes prior to the start time of the conference call.
The earnings presentation referenced during the call will be made available on April 25, 2019 at
corporate.wwe.com/investors. A replay of the call will be available approximately two hours after the
conference call concludes, and can be accessed on the Company’s web site.

About WWE
WWE, a publicly traded company (NYSE: WWE), is an integrated media organization and recognized
leader in global entertainment. The Company consists of a portfolio of businesses that create and deliver
original content 52 weeks a year to a global audience. WWE is committed to family friendly entertainment
on its television programming, pay-per-view, digital media and publishing platforms. WWE’s TV-PG,
family-friendly programming can be seen in more than 800 million homes worldwide in 25 languages.
WWE Network, the first-ever 24/7 over-the-top premium network that includes all live pay-per-views,
scheduled programming and a massive video-on-demand library, is currently available in more than 180
countries. The Company is headquartered in Stamford, Conn., with offices in New York, Los Angeles,
London, Mexico City, Mumbai, Shanghai, Singapore, Dubai, Munich and Tokyo.
Additional information on WWE (NYSE: WWE) can be found at wwe.com and corporate.wwe.com. For
information on our global activities, go to http://www.wwe.com/worldwide/.



                                                     8
             Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 10 of 16


Trademarks: All WWE programming, talent names, images, likenesses, slogans, wrestling moves, trademarks, logos and
copyrights are the exclusive property of WWE and its subsidiaries. All other trademarks, logos and copyrights are the
property of their respective owners.

Forward-Looking Statements: This press release contains forward-looking statements pursuant to the safe harbor provisions of
the Securities Litigation Reform Act of 1995, which are subject to various risks and uncertainties. These risks and uncertainties
include, without limitation, risks relating to: entering, maintaining and renewing major distribution agreements; WWE Network
(including the risk that we are unable to attract, retain and renew subscribers); our need to continue to develop creative and
entertaining programs and events; the possibility of a decline in the popularity of our brand of sports entertainment; the
continued importance of key performers and the services of Vincent K. McMahon; possible adverse changes in the regulatory
atmosphere and related private sector initiatives; the highly competitive, rapidly changing and increasingly fragmented nature
of the markets in which we operate and greater financial resources or marketplace presence of many of our competitors;
uncertainties associated with international markets including possible disruptions and reputational risks; our difficulty or
inability to promote and conduct our live events and/or other businesses if we do not comply with applicable regulations; our
dependence on our intellectual property rights, our need to protect those rights, and the risks of our infringement of others’
intellectual property rights; the complexity of our rights agreements across distribution mechanisms and geographical areas;
potential substantial liability in the event of accidents or injuries occurring during our physically demanding events including,
without limitation, claims alleging traumatic brain injury; large public events as well as travel to and from such events; our
feature film business; our expansion into new or complementary businesses and/or strategic investments; our computer systems
and online operations; privacy norms and regulations; a possible decline in general economic conditions and disruption in
financial markets; our accounts receivable; our indebtedness including our convertible notes; litigation; our potential failure to
meet market expectations for our financial performance, which could adversely affect our stock; Vincent K. McMahon exercises
control over our affairs, and his interests may conflict with the holders of our Class A common stock; a substantial number of
shares are eligible for sale by the McMahons and the sale, or the perception of possible sales, of those shares could lower our
stock price; and the volatility of our Class A common stock. In addition, our dividend is dependent on a number of factors,
including, among other things, our liquidity and historical and projected cash flow, strategic plan (including alternative uses of
capital), our financial results and condition, contractual and legal restrictions on the payment of dividends (including under our
revolving credit facility), general economic and competitive conditions and such other factors as our Board of Directors may
consider relevant. Forward-looking statements made by the Company speak only as of the date made and are subject to change
without any obligation on the part of the Company to update or revise them. Undue reliance should not be placed on these
statements. For more information about risks and uncertainties associated with the Company’s business, please refer to the
“Management’s Discussion and Analysis of Financial Condition and Results of Operations” and “Risk Factors” sections of the
Company’s SEC filings, including, but not limited to, our annual report on Form 10-K and quarterly reports on Form 10-Q.




                                                                9
             Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 11 of 16


                                        World Wrestling Entertainment, Inc.
                                          Consolidated Income Statements
                                         (In millions, except per share data)
                                                     (Unaudited)


                                                                                               Three Months Ended
                                                                                                    March 31,
                                                                                               2019           2018
Net revenues                                                                              $       182.4 $        187.7
Operating expenses                                                                                135.4          120.0
Marketing and selling expenses                                                                     23.1           19.9
General and administrative expenses                                                                24.3           19.7
Depreciation and amortization                                                                        6.4           6.3
Operating (loss) income                                                                             (6.8)         21.8
Interest expense (1)                                                                                 6.3           3.5
Other income, net                                                                                    1.8           1.8
(Loss) income before income taxes                                                                 (11.3)          20.1
(Benefit from) provision for income taxes                                                           (2.9)          5.3
Net (loss) income                                                                         $         (8.4) $       14.8

(Loss) earnings per share:
  Basic                                                                                   $         (0.11) $           0.19
  Diluted                                                                                 $         (0.11) $           0.18

Weighted average common shares outstanding:
  Basic                                                                                              78.0              77.1
  Diluted                                                                                            78.0              82.5
Dividends declared per common share (Class A and B)                                       $          0.12    $         0.12

(1)
  During the current year quarter, the Company incurred additional nonrecurring interest expense of $1.4 million under the
notes’ indenture related to the removal of the restrictive legend and assignment of the unrestricted CUSIP on the Convertible
Notes. Additionally, during the current year quarter the Company recorded a one-time expense of $1.2 million associated with
immaterial finance leases identified as part of our lease accounting adoption on January 1, 2019




                                                             10
        Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 12 of 16
                           World Wrestling Entertainment, Inc.
                              Consolidated Balance Sheets
                                     (In millions)
                                      (Unaudited)



                                                                               As of
                                                                     March 31,     December 31,
                                                                      2019             2018
                                 ASSETS
CURRENT ASSETS:
  Cash and cash equivalents                                      $         152.8 $        167.5
  Short-term investments, net                                              185.4          191.7
  Accounts receivable, net                                                  55.0           78.9
  Inventory                                                                  8.8            7.7
  Prepaid expenses and other current assets                                 37.6           28.2
     Total current assets                                                  439.6          474.0
PROPERTY AND EQUIPMENT, NET                                                155.5          148.1
FINANCE LEASE RIGHT-OF-USE ASSETS, NET                                      14.6             —
OPERATING LEASE RIGHT-OF-USE ASSETS, NET                                    20.4             —
FEATURE FILM PRODUCTION ASSETS, NET                                         13.0           13.6
TELEVISION PRODUCTION ASSETS, NET                                            4.0            7.5
INVESTMENT SECURITIES                                                       30.2           30.2
NON-CURRENT DEFERRED INCOME TAX ASSETS                                      17.9           17.1
OTHER ASSETS, NET                                                            8.0            9.8
TOTAL ASSETS                                                     $         703.2 $        700.3
             LIABILITIES AND STOCKHOLDERS’ EQUITY
CURRENT LIABILITIES:
  Current portion of long-term debt                              $           5.1 $          5.1
  Finance lease liabilities                                                  8.4             —
  Operating lease liabilities                                                7.2             —
  Convertible debt                                                         184.5          183.1
  Accounts payable and accrued expenses                                     78.5          120.1
  Deferred income                                                           60.9           49.2
     Total current liabilities                                             344.6          357.5
LONG-TERM DEBT                                                              24.4           25.7
FINANCE LEASE LIABILITIES                                                    7.4             —
OPERATING LEASE LIABILITIES                                                 13.1             —
OTHER NON-CURRENT LIABILITIES                                                0.6            0.9
     Total liabilities                                                     390.1          384.1
COMMITMENTS AND CONTINGENCIES
STOCKHOLDERS’ EQUITY:
  Class A common stock                                                       0.4            0.4
  Class B convertible common stock                                           0.3            0.3
  Additional paid-in capital                                               429.2          415.3
  Accumulated other comprehensive income                                     2.3            1.5
  Accumulated deficit                                                     (119.1)        (101.3)
     Total stockholders’ equity                                            313.1          316.2
TOTAL LIABILITIES AND STOCKHOLDERS’ EQUITY                       $         703.2 $        700.3




                                           11
            Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 13 of 16
                                     World Wrestling Entertainment, Inc.
                                    Consolidated Statements of Cash Flows
                                                 (In millions)
                                                 (Unaudited)

                                                                                Three Months Ended
                                                                                     March 31,
                                                                                 2019         2018
OPERATING ACTIVITIES:
  Net (loss) income                                                         $       (8.4) $      14.8
  Adjustments to reconcile net (loss) income to net cash
    provided by operating activities:
  Amortization and impairments of feature film production assets                     0.6          2.2
  Amortization of television production assets                                       8.3          3.1
  Depreciation and amortization                                                      8.0          7.9
  Services provided in exchange for equity instruments                              (0.8)        (0.8)
  Other amortization                                                                 3.5          1.6
  Stock-based compensation                                                          12.8          7.1
  (Benefit from) provision for deferred income taxes                                (0.8)         2.0
  Other non-cash adjustments                                                         1.3           —
  Cash (used in) provided by changes in operating assets and liabilities:
     Accounts receivable                                                            24.0         (2.5)
     Inventory                                                                      (1.0)        (1.6)
     Prepaid expenses and other assets                                              (9.4)       (12.0)
     Feature film production assets                                                   —          (0.4)
     Television production assets                                                   (4.8)        (4.5)
     Accounts payable, accrued expenses and other liabilities                      (38.8)       (25.0)
     Deferred income                                                                12.2         10.7
        Net cash provided by operating activities                                    6.7          2.6
INVESTING ACTIVITIES:
  Purchases of property and equipment and other assets                             (16.8)        (4.4)
  Purchases of short-term investments                                              (13.4)       (39.1)
  Proceeds from sales and maturities of investments                                 20.5         18.5
  Purchase of investment securities                                                 (0.1)          —
        Net cash used in investing activities                                       (9.8)       (25.0)
FINANCING ACTIVITIES:
  Repayment of debt                                                                 (1.3)        (1.2)
  Repayment of finance leases                                                       (2.0)          —
  Dividends paid                                                                    (9.4)        (9.3)
  Taxes paid related to net settlement upon vesting of equity awards                (0.1)          —
  Proceeds from issuance of stock                                                    1.2          0.8
        Net cash used in financing activities                                      (11.6)        (9.7)
NET DECREASE IN CASH AND CASH EQUIVALENTS                                          (14.7)       (32.1)
CASH AND CASH EQUIVALENTS, BEGINNING OF PERIOD                                     167.5        137.7
  CASH AND CASH EQUIVALENTS, END OF PERIOD                                  $      152.8 $      105.6
NON-CASH INVESTING TRANSACTIONS:
  Purchases of property and equipment recorded in accounts payable
  and accrued expenses                                                      $       10.3    $     2.1




                                                        12
       Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 14 of 16
                               World Wrestling Entertainment, Inc.
                    Supplemental Information – Reconciliation of Adjusted OIBDA
                                 (In millions, except per share data)
                                             (Unaudited)



                                                Three Months Ended March 31, 2019
                               Operating     Depreciation
                                 (Loss)          &           Stock        Other       Adjusted
                                Income       Amortization Compensation Adjustments    OIBDA
Media                         $      16.3    $        2.8 $        9.4 $          — $      28.5
Live Events                          (0.2)             —           1.0            —          0.8
Consumer Products                      5.0             —           1.0            —          6.0
Corporate                           (27.9)            3.6          1.4            —       (22.9)
 Total                        $      (6.8)   $        6.4 $       12.8 $          — $      12.4

                                                Three Months Ended March 31, 2018
                                             Depreciation
                               Operating         &           Stock        Other       Adjusted
                                Income       Amortization Compensation Adjustments    OIBDA
Media                         $      35.9    $        3.0 $        4.7 $          — $      43.6
Live Events                           2.9              —           0.7            —          3.6
Consumer Products                     6.0              —           0.9            —          6.9
Corporate                           (23.0)            3.3          0.8            —       (18.9)
 Total                        $      21.8    $        6.3 $        7.1 $          — $      35.2




                                                 13
             Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 15 of 16
                                           World Wrestling Entertainment, Inc.
                                Supplemental Information - Reconciliation of Business Outlook
                                             (In millions, except per share data)
                                                         (Unaudited)

Reconciliation of Adjusted OIBDA to Operating Income




                                                                    Q1 2019              Q2 2019                FY 2019
Adjusted OIBDA                                             $                  12.4      $19 - $24             At least $200
Depreciation & amortization                                                   (6.4)         —                       —
Stock-based compensation                                                  (12.8)            —                       —
                   (1)
Film impairments                                                               —            —                       —
                    (1)
Asset impairments                                                              —            —                       —
                                      (1)
Gain (losses) on operating assets                                              —            —                       —
                          (1)
Restructuring charges                                                          —            —                       —
Other operating income items (1)                                                —           —                      —
Operating (loss) income (U.S. GAAP Basis)                  $                  (6.8)   Not estimable          Not estimable


(1)
      Because of the nature of these items, WWE is unable to estimate the amounts of any adjustments for these items for
      periods after March 31, 2019 due to its inability to forecast if or when such items will occur. These items are inherently
      unpredictable and may not be reliably quantified.




                                                               14
           Case 3:20-cv-00557-VAB Document 57-8 Filed 08/28/20 Page 16 of 16
                                   World Wrestling Entertainment, Inc.
                                Supplemental Information - Free Cash Flow
                                               (In millions)
                                               (Unaudited)

                                                                             Three Months Ended
                                                                                  March 31,
                                                                            2019            2018
Net cash provided by operating activities                              $          6.7 $          2.6
Less cash used for capital expenditures:
  Purchase of property and equipment and other assets                          (16.8)           (4.4)
Free Cash Flow                                                         $       (10.1) $         (1.8)




                                                        15
